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                                                                                                                             EXHIBIT A
                             SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                FOR THE PERIOD BEGINNING:                      September 1, 2013                          AND ENDING:             September 30, 2013

   Name of Debtor: TRILLION PARTNERS, INC.                                                                Case Number:            11-cv-01787-MSK-MJW

                                                                                                              CURRENT
                                                                                                               MONTH

   1. FUNDS AT BEGINNING OF PERIOD                                                                              2,227,546.95      (a)
   1. RECEIPTS:
    A. Customer Collections at Trillion
     B. Customer Collections in Lockbox                                                                         2,186,925.52
    C. Received from Secured Lenders                                                                              509,000.89
    D. Other Receipts

   2. TOTAL RECEIPTS                                                                                            2,695,926.41

   TOTAL FUNDS AVAILABLE FOR
       OPERATIONS                                                                                               4,923,473.36

   3. DISBURSEMENTS
    A    Advertising
    B    Bank /Credit Card Charges                                                                                       234.80
    C    Contract Labor                                                                                               33,719.19
    D    Fixed Asset Payments                                                                                         64,726.61
    E    Insurance
     F   Inventory Payments                                                                                            2,692.44
    G    Leases                                                                                                       40,573.20
    H    Circuits                                                                                                     76,910.11
     I   Office Supplies                                                                                                 491.47
     J   Payroll- Net                                                                                                178,519.05
    K    Professional Fees
    K1          Alvarez & Marsal                                                                                      39,395.59
    K2           McElroy, Deutsch, Mulvaney & Carpenter                                                               69,570.83
    K3           Horow.vitz & Burnett, P.C.                                                                            2,456.39
    K4          Wiley Rein                                                                                            55,018.00
    K5           Greg Vogt                                                                                             3,300.00
    K6           Ford & Harrison
    K7           Real Estate Tax Consultants
    K8          Winstead P.C.
    K9           Grimshaw & Haring
   K10           Ewell, Bickham , Brown & Rabb L
   K11           Smith,Angderson ,Biount,Dorsett
   K12           Carianne Weston
   K13           Madison Sproul Partners
   K14          Alvarez & Marsal Taxand, LLC                                                                          30,732.00
     L   Rent                                                                                                         20,501.47
    M    Repairs & Maintenance                                                                                         2,718.16
    N    Secured Creditor Payments
    0    Taxes Paid- Payroll                                                                                         48,621.42
    P    Taxes Paid- Sales & Use                                                                                     37,479.66
    Q    Taxes Paid- Other                                                                                           34,427.30
    R    Telephone                                                                                                    1,192.61
    S    Travel & Entertainment
    T    Utilities                                                                                                   12,214.26
    U    Vehicle Expenses                                                                                            13,104.92
   U 1 Bear Reimbursements                                                                                         463,276.66
   U2    Payroll Contributions                                                                                       33,017.34
   U3 Transfer to Escrow Account on behalf of Secured Creditors                                                 1 ' 11 8,973.20
   U4    Disbursement from Vectra Bank to Trillion
   U5    Disbursement from US Bank to Vectra
    V    Other Operating Expenses                                                                                 229,991.26
   Excess prior months checks cleared over current month checks uncleared                                          96,799.25
   4. TOTAL DISBURSEMENTS (Sum of 3A thru V)                                                                    2,710,657.19
   5. NET CASH FLOW FOR PERIOD                                                                                    (14,730.78)
   7. ENDING BALANCE (Line 4 Minus Line 6)                                                                      2,212,816.17 (c)
                                                                                 Check
                                                                                                                            000
   I declare under penalty or perjury that this statement and the accompanying documents and reports are true
   and correct to the best of my knowledge and belief.

   This ___3::.;0:..:th~ day of_ _ _ _ _ _ __::O..:::ct::o..:::b.::;:er:...,__ _ _ _ _ _ _ ,2013.         s/ Byron P. Smyt
                                                                                                                                  (Signaturel

   (a) This number is carried forward from last month's report. For the first report only, this number will be the
        balance as of the receivership date.
   (b) This figure will not change from month to month. It is always the amount of funds on hand as of the date of
        the receivership
   ( c) These two amounts will always be the same if form is completed correctly.




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